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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION AT LEXINGTON


IN RE CLASSICSTAR MARE LEASE                       )        MDL No. 1877
LITIGATION                                         )
                                                   )
                                                   )         Master File:
AND                                                )        Civil Action No.: 5:07-cv-353-JMH
                                                   )
WEST HILLS FARMS, LLC, ET AL.                      )
                                                   )
                             PLAINTIFFS            )
V.                                                 )        CASE NO.: 06-243-JMH
                                                   )
CLASSICSTAR, LLC, ET AL.                           )
                                                   )
                             DEFENDANTS            )

    PLAINTIFFS WEST HILL FARMS, LLC, ARBOR FARMS, LLC, NELSON
 BREEDERS, LLC, MACDONALD STABLES, LLC AND MONICA AND JASWINDER
              GROVER’S MOTION FOR INJUNCTIVE RELIEF

       COMES NOW Plaintiffs, West Hill Farms, LLC, Arbor Farms, LLC, Nelson Breeders,

LLC, MacDonald Stables, LLC, and Monica and Jaswinder Grover, by counsel, and hereby

moves for an entry of injunctive relief against the Defendants, their agents, and potential

transferees in accordance with 18 U.S.C. § 1964(a) and Fed. R. Civ. P. 65. A Memorandum in

Support of this Motion and a tendered Order are attached.

                                            Respectfully submitted,

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                                    -and-

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                                 CERTIFICATE OF SERVICE
       This is to certify that a true and correct copy of the foregoing has been electronically filed
on November 30, 2011, with the Clerk of the Court by using the CM/ECF system, which will
send a notice of electronic filing to the following:

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        I further certify that on this same date I mailed the foregoing document and the notice of
electronic filing by first class mail to the following non-CM/ECF participants:

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